 

 

  

Fi|i in this information to identify your case:

oewa Natieya Davis

First Neme Midd|e Name ` Last Name

Debtor 2
(SpOuse, if filing) First Name Middle Name Last Name

 

united states Bankruptcy court for the: _Greenbeit___ District of _Maryiand

Case number
(if known)

 

 

Officia| Form 1035

 

 

   

3917-24030 Doc 6 Fiied 10/20/17 PaQU.QLB'ZL/l 0 73 0

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, _|:i» Che¢k if tins is an
amended ~ti|ing

Application to Have the Chapter 7 Fi|ing Fee Waived 12/15

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known).

m Tell the court About Your Family and Your Family’s lncome

1. What is the size of your family? Check a/I that apply.'
Your family includes you. your
spouse, and any dependents listed -Y°u
on Schedu/e J: Your Expenses m Your Spouse
(Official Form 106J). 2 2
Your dependents _______ __________
HOW many dependenfs? Totai number of people

2. Fi|| in your fami|y’s average
monthly income.

lnc|ude your spouse’s income if
your SPOUS€ is living With yOu, even Add your income and your spouse’s income. include the

That person’s average
monthly net income
(take~home pay)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

if your spouse is not t”lling. value (if known) of any non-cash governmental assistance Y°u $ 0.00
, , that you receive, such as food stamps (benetits under the """"""""" _~_--
po not 'F‘°'ude your spouse s Supp|ementa| Nutrition Assistance Program) or housing
income if you are separated and Subsidies_
your spouse ls not mmg w'th you' if you have already filled out Schedule /: Your/ncome, see Y°u" Sp°use"" + $
line 10 of that scheduie.
Subtota| ............ $
Subtract any non-cash governmental assistance that you _
included above. $
Your fami|y’s average monthly net income Tota| ................. $ 0-00
T e of assistance
3. Do you receive non-cash No yp
governmental assistance? [;!¥es Describe
4. Do you expect your fami|y’s M No
average monthly net income to .
increase or decrease by more than EYSS' Exp|a'n' """""""
10% during the next 6 months?
5. Tell the court why you are unable to pay the filing fee in Loss job
installments within 120 days. lf you have some additional
circumstances that cause you to not be able to pay your filing
fee in installments, explain them.
Oft'lcial Form 1033 Appiication to Have the Chapter 7 Fi|ing Fee Waived page 1

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Debtor 1 Naueya

 

UHV|S

 

Fiist Name Middie Name

Last Name

m Tell the Court About Your Monthly Expenses

6. Estimate your average monthly expenses.
include amounts paid by any government assistance that you $ 2,450-00

reported on line 2.

if you have already filled out Schedule J, Your Expenses, copy

line 22 from that form.

Case number (irknown)

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7. Do these expenses cover anyone
who is not included in your family
as reported in line 1?

 

-No

UYes. identify who ........

 

 

 

8. Does anyone other than you
regularly pay any of these
expenses?
lf you have already filled out
Schedule l.' Your /ncome, copy the
total from line 11.

-No

EYes. How much do you regularly receive as contributions? $

monthly

 

9. Do you expect your average
monthly expenses to increase or
decrease by more than 10% during
the next 6 months?

 

ENQ
-Yes. Exp|ain ...............

 

 

m Tell the Court About Your Property

 

if you have already filled out Schedule A/B: Property (Official Form 106A/B) attach copies to this application and go to Part 4.

10. How much cash do you have?
Examples: Money you have in
your wailet, in your home, and on
hand when you file this application

Cash: $___iO_O

 

11. Bank accounts and other deposits

 

 

 

 

 

 

 

 

 

 

 

institution namer Amount:
of money? ......_._......._.__.._...... ....................,.....,....
Examp/es.' Checking, savings, Che€king accouan $
money market, or other financial
accounts; certificates of deposit; Savings account: $
shares in banks, credit unions,
brokerage ,h°‘.lses' and other Other financial accounts: $
similar institutions lf you have
more than one account with the Oth f _ l t _ s
same institution, list each. Do not er '"a"°'a a°°°u" s'
include 401(k) and iRA accounts
12. Your home? (if you own it outright or
are purchasing it) Number Street Current values $ O-OO
Examples: House, condominium, Amount you owe
manufactured home, or mobile home City State ZiP Code on mortgage and $
liens:
13. Other real estate? ,
Current value, $
Number Street
Amount you owe
_ on mortgage and $
City State ZiP Code liens:
14. The vehicles you own? Make:
Examp/es: Cars, vans, trucks, Modei: Current value s 0'00
sports utility vehicles, motorcycles. Year: Amount you owe
tractors, boats . on liens s
Mi|eage ‘
Make:
Model: Current value: $
Year: Amount you owe
Mi|eage on liens: $

 

Official Form 1038

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i\iaiieya

First Name

Debtor 1
Middle Name

UaV|S Case number (irknown)

 

Last Name

 

15. Other assets?

Do not include household items
and ciothing.

Describe the other assets:

Current value:

 

 

 

on liens:

 

Amount you owe

$ 0.00

(~8

 

16. Money or property due you?

Examp/es: Tax refunds, past due
or lump sum alimony, spousal
support, child support,
maintenanoe, divorce or property
settlements, Sociai Security
benefits, workers’ compensation,
personal injury recovery

Who owes you the money or property? How much is owed?

 

m Answer These Additional Questions

Do you believe you will likely receive
payment in the next 180 days?

-No
EYes. Exp|ain:

 

 

 

 

 

17. Have you paid anyone for

services for this case, including

filling out this application, the

bankruptcy filing package, or the

schedules?

18. Have you promised to pay or do

you expect to pay someone for
services for your bankruptcy
case?

19. Has anyone paid someone on
your behalf for services for this
case?

UNO

EYes. whom did you pay? check a/i that appiy.~

UAn attorney

EA bankruptcy petition preparer, paralegall or typing service
m Someone else

 

-No

E Yes. Whom do you expect to pay? Check all that apply:

-An attorney

-A bankruptcy petition preparer, paralegal, or typing service

Someone else

How much did you pay?

How much do you
expect to pay?

 

 

Who paid?
Check all that apply:

x Parent

z Brother or sister

Friend

x Pastor or clergy
- Someone else

-Yes. Who was paid on your beha|f?
Check all that apply.'

EAn attorney

I:]A bankruptcy petition preparer,
paralegal, or typing service

m Someone else

   
  

How much did
someone else pay?

 

20. Have you filed for bankruptcy
within the last 8 years?

UNO

 

 

-Yes. District When
' MNi/ DD/ YYYY
District When
MM/ DD/ YYYY
District When
MM/ DD/ YYYY

 

Case number

Case number

Case number

 

By signing here under penalty of perjury, l declare that l cannot afford to pay the filing fee either in full or in lnstallments. l also declare
that the informa 'on l provided in this application is true and correct.

x)\lil

Signature of ebtor 1

Date 1/

MM DD

 

Offlcial Form 103B

x
Signature of Debtor 2

Date
MM / DD /YYYY

App|ication to Have the Chapter 7 Fi|ing Fee Waived

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